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This Doeument Re]ated To: Master File NO. 04»27'71- DV
All Actions District Judge Bemice B. Donald
Magistrate Judge Diane K. Veseovo

ORDER GRANTING CERTAIN DEFENDANTS’ MOTION TO FILE
BRIEF IN EXCESS OF TWENTY PAGES
The Court having considered defendants Mueller Ind.ustries, Inc., WTC Holding
Company, lnc., DENO Holding Company, Inc., KME America Inc., Outokumpu Copper
(U.S.A.), Ine., and Wieland Metals, lnc.’s Motion to File Brief in Excess ot`Twenty Pages and
the memorandum in support thereof and finding it to be Well taken,
IT lS HEREBY ORDERED THAT the moving defendants have leave to file a brief in

excess of twenty pages in support of their m to dismiss.

   

 

SJUDGE”
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ENTERED rHls/; day Of May, 2005
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Case 2:04-cv-02771-BBD-dkv Document 77 Filed 05/13/05 Page 2 of 5 Page|D 98

CERTIFICATE OF SERVICE

The undersigned attorney hereby certifies that a copy of the foregoing was duly

served on counsel for plaintiffs in this action on May 6, 2005, by delivery to the following by the

method indicated:

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Honorable Bernice Donald
US DISTRICT COURT

